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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      Case No. 22-CR-102-JDB
                                             :
MELANIE ARCHER                               :
and JORDAN BONENBERGER,                      :
                                             :
                      Defendant.             :


                    UNOPPOSED MOTION FOR PROTECTIVE ORDER

       The United States of America hereby respectfully moves the Court for the entry of a

protective order governing the production of discovery by the parties in the above-captioned case.

The United States and counsel for Defendants have reached an agreement as to the proposed

protective order. Therefore, the United States is authorized to represent to the Court that

Defendants do not oppose this motion or the entry of the attached protective order.



                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar Number 481052


                                     By:     /s/ Elizabeth Rogers
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